Case 5:18-cv-00932-SLP Document 21 Filed 10/10/19 Pageiof1

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF OKLAHOMA

(1)KIDS ONLY, LLC,
Plaintiff,

Vv.

(1)TRAVELERS CASUALTY INSURANCE

COMPANY OF AMERICA,

Defendant.

Case No. CIV-18-932-SLP

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

COME NOW, the Plaintiff, Kids Only, LLC and Defendant, Travelers Casualty Insurance

Company of America and hereby stipulate to the dismissal of this above-captioned action to future

refiling pursuant to Fed.R.Civ.P. 41.

Respeetfully submitted,

a

J. Drew Hui n(/

Larry E. a

Merlin Law ean. P.A,

One Leadership Square

211 N. Robinson Ave., Suite 210
Oklahoma City, OK 73102
Attorney for the Plaintiff

Lu,

ie W. Downs, OBA #12272
if r. Daniel, OBA #32760
00 West Fourth Street
P.O. Box 309
Claremore, Oklahoma 74018
Telephone: 918/343-4100
Facsimile: 918/343-4900
Attorneys for Defendant

